                  Case 3:19-cv-06250 Document 1 Filed 12/30/19 Page 1 of 6




 1

 2

 3

 4

 5

 6

 7                           UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT TACOMA
 9
     COWLITZ COUNTY, et al.,                              CASE NO.
10
                                Plaintiffs,               NOTICE OF REMOVAL OF CIVIL
11                                                        ACTION
            v.
12
     UNIVERSITY OF WASHINGTON, et al.,
13

14                                  Defendants.

15

16
            The United States hereby gives notice pursuant to 28 U.S.C. § 1446(a) of the removal of
17
     this action to this Court from the Superior Court of the State of Washington, in and for Cowlitz
18
     County, Washington (Cowlitz County Superior Court). Plaintiffs Cowlitz County and Cowlitz
19

20   County Youth Services Center (Cowlitz County) seek a declaratory judgment authorizing the

21   release of federal records pertaining to juvenile detainees in federal custody pursuant to a state
22   records request by Defendants University of Washington and Angelina Snodgrass Godoy. The
23
     United States has intervened as a party to prevent the disclosure of these documents, as
24
     disclosure is prohibited under federal law.
25

26
      NOTICE OF REMOVAL OF CIVIL ACTION                                      DEPARTMENT OF JUSTICE
27    CASE No. ________________                                                     Civil Division
      PAGE - 1                                                                 Federal Programs Branch
28                                                                               1100 L Street N.W.
                                                                               Washington, D.C. 20005
                                                                                   (202) 305-8613
                   Case 3:19-cv-06250 Document 1 Filed 12/30/19 Page 2 of 6



                                        FACTUAL BACKGROUND
 1

 2           In 2001, pursuant to its statutory authority under the Immigration and Naturalization Act

 3   (INA), 8 U.S.C. §§ 1231(g)(1)-(2) and 1103(a)(11), the Immigration and Naturalization Service

 4   entered into an “Intergovernmental Service Agreement for Housing Federal detainees” with
 5   Cowlitz County to provide detention and care of U.S. Immigration and Customs Enforcement
 6
     (ICE) juveniles detained under the INA. In July 2018, Defendants submitted a public records
 7
     request to Cowlitz County pursuant to Washington’s Public Records Act (PRA), RCW §
 8
     42.56.080, et seq., seeking the “jail files” of immigrant minors detained on behalf of ICE. Upon
 9

10   receipt and review of Defendants’ PRA request, ICE advised Cowlitz County that they were not

11   authorized to release the requested “jail files” because they are federal records belonging to ICE,

12   and the County was prohibited by law from disclosing them. See 8 C.F.R. § 236.6.
13
             On February 1, 2019, Cowlitz County filed this lawsuit in Cowlitz County Superior
14
     Court, Case No. 19-2-00099-08, seeking a declaratory judgment sanctioning the release of the
15
     requested documents under state law. Compl. (Dkt. No. 1) (attached hereto as Ex. A). On May
16
     30, 2019, the United States filed an unopposed motion to intervene as a matter of right pursuant
17

18   to Washington Superior Court Civil Rule 24(a), which mirrors Federal Rule of Civil Procedure

19   24(a), as a party defendant in this action. Although the motion was initially unopposed, several
20   months after its filing, Defendants filed an objection to the United States’ motion to the extent
21
     the United States sought intervention as a party defendant, rather than as a party plaintiff. Both
22
     Cowlitz County and the United States challenged Defendants’ position, asserting that Plaintiffs’
23
     claim presents a question of federal statutory interpretation, in which the United States’ interests
24

25   are directly adverse to those of Plaintiffs.

26
      NOTICE OF REMOVAL OF CIVIL ACTION                                      DEPARTMENT OF JUSTICE
27    CASE No. ________________                                                     Civil Division
      PAGE - 2                                                                 Federal Programs Branch
28                                                                               1100 L Street N.W.
                                                                               Washington, D.C. 20005
                                                                                   (202) 305-8613
                   Case 3:19-cv-06250 Document 1 Filed 12/30/19 Page 3 of 6



            Notwithstanding Cowlitz County’s and the United States’ agreement on that issue, the
 1

 2   court sided with Defendants. By order of December 10, 2019, and without issuing an opinion

 3   setting forth any analysis, the court granted the United States’ motion to intervene, but as a

 4   plaintiff, not defendant.
 5
                                       GROUNDS FOR REMOVAL
 6
            In light of the United States’ substantive position relative to the issue in dispute, removal
 7
     is appropriate. “A civil action . . . that is commenced in a State court and that is against or
 8
     directed to [the United States or any agency thereof] may be removed by them to the district
 9

10   court of the United States for the district and division embracing the place wherein it is pending.”

11   28 U.S.C. § 1442(a)(1). In applying the general standards for removal, the substantive

12   underpinnings of the original claim for relief controls, particularly when the existence of a
13
     federal question provides a basis for removal. See 14C Charles Alan Wright & Arthur R. Miller,
14
     FEDERAL PRACTICE AND PROCEDURE § 3734 (Rev. 4th ed.). Section 1442’s purpose and history
15
     confirm that the statute was meant to ensure as a matter of right that federal defenses raised by
16
     federal actors are evaluated in a federal forum and “should not be frustrated by a narrow,
17

18   grudging interpretation” of the provision. Willingham v. Morgan, 395 U.S. 402, 407 (1969) (“In

19   cases like this one, Congress has decided that federal officers, and indeed the Federal
20   Government itself, require the protection of a federal forum.”).
21
            This case turns on a fundamental federal question—whether applicable state law is
22
     preempted by federal law prohibiting the disclosure of the records at issue. Cowlitz County has
23
     brought a claim “directed to” the United States by seeking a declaratory judgment authorizing
24

25   the disclosure of federal documents, which ICE asserts are prohibited from disclosure under

26   federal law. Compl. at 7-8 (prayer for relief). Substantively, Cowlitz County’s desired outcome
      NOTICE OF REMOVAL OF CIVIL ACTION                                       DEPARTMENT OF JUSTICE
27    CASE No. ________________                                                      Civil Division
      PAGE - 3                                                                  Federal Programs Branch
28                                                                                1100 L Street N.W.
                                                                                Washington, D.C. 20005
                                                                                    (202) 305-8613
                  Case 3:19-cv-06250 Document 1 Filed 12/30/19 Page 4 of 6



     in this case is directly adverse to the United States’ interests. Accordingly, the United States
 1

 2   removes this case to the United States District Court.

 3          Pursuant to 28 U.S.C. § 1446(b), the filing of this notice is timely. Notice of removal

 4   may be filed within 30 days of receipt of an order or other paper from which it may first be
 5   ascertained the case is one which is or has become removable. See 28 U.S.C. § 1446(b). This
 6
     action first became removable on December 10, 2019, when the Cowlitz County Superior Court
 7
     entered the order granting the motion of the United States to intervene as a party. This filing is
 8
     within 30 days of that order, and therefore this removal is timely.
 9

10          Pursuant to Local Rule CR 101(b)(2), a certificate of service which lists all counsel who

11   have appeared in this action is herewith included. This Notice of Removal will be promptly filed

12   with the clerk of the Cowlitz County Superior Court. See 28 U.S.C. § 1446(d). Pursuant to
13
     Local Rule CR 101(b)(1), a copy of the complaint is attached as Attachment A. No Jury
14
     Demand was filed in the state court; therefore, there is no such document to be filed
15
     contemporaneously with this notice of removal. See LCR (b)(3).
16

17

18

19

20

21

22

23

24

25

26
      NOTICE OF REMOVAL OF CIVIL ACTION                                      DEPARTMENT OF JUSTICE
27    CASE No. ________________                                                     Civil Division
      PAGE - 4                                                                 Federal Programs Branch
28                                                                               1100 L Street N.W.
                                                                               Washington, D.C. 20005
                                                                                   (202) 305-8613
               Case 3:19-cv-06250 Document 1 Filed 12/30/19 Page 5 of 6



     Dated: December 30, 2019              Respectfully submitted,
 1
                                           JOSEPH H. HUNT
 2                                         Assistant Attorney General
 3                                         JACQUELINE COLEMAN SNEAD
                                           Assistant Branch Director
 4

 5                                         s/ Alexis J. Echols
                                           ALEXIS J. ECHOLS
 6                                         United States Department of Justice
                                           Civil Division, Federal Programs Branch
 7                                         1100 L Street NW, Room 11304
                                           Washington, D.C. 20005
 8                                         Telephone: (202) 305-8613
                                           Facsimile: (202) 616-8460
 9                                         E-mail: alexis.j.echols@usdoj.gov
10                                         Attorneys for the United States
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
     NOTICE OF REMOVAL OF CIVIL ACTION                         DEPARTMENT OF JUSTICE
27   CASE No. ________________                                        Civil Division
     PAGE - 5                                                    Federal Programs Branch
28                                                                 1100 L Street N.W.
                                                                 Washington, D.C. 20005
                                                                     (202) 305-8613
                  Case 3:19-cv-06250 Document 1 Filed 12/30/19 Page 6 of 6



                                     CERTIFICATE OF SERVICE
 1

 2          I hereby certify under penalty of perjury that on this 30th day of December 2019, I
     electronically filed the foregoing “NOTICE OF REMOVAL OF CIVIL ACTION” with the
 3
     Clerk of the Court using the CM/ECF system, which will send notification of such filing to the
 4
     CM/ECF participants identified below.
 5          I further certify under penalty of perjury that on this 30th day of December 2019, I
 6   caused to be e-mailed and placed in the United States mail (first-class, postage prepaid), a copy
 7   of the foregoing “NOTICE OF REMOVAL OF CIVIL ACTION” addressed as follows:

 8
                                            Douglas E. Jensen
 9                                    Hall of Justice – Civil Division
                                          312 S.W. First Avenue
10                                      Kelso, Washington 98626
                                       jensend@co.cowlitz.wa.us
11

12                                             Eric M. Stahl
                                       Davis Wright Tremaine LLP
13                                     920 Fifth Avenue, Suite 3300
                                        Seattle, Washington 98107
14                                          ericstahl@dwt.com
15
                                             Nancy S. Garland
16                                Washington Attorney General’s Office
                                    University of Washington Division
17                                4333 Brooklyn Avenue NE, 18th Floor
                                     Seattle, Washington 98195-9475
18                                           nancysg@uw.edu
19

20

21
                                             s/ Alexis J. Echols
22
                                           ALEXIS J. ECHOLS
23

24

25

26
      NOTICE OF REMOVAL OF CIVIL ACTION                                     DEPARTMENT OF JUSTICE
27    CASE No. ________________                                                    Civil Division
      PAGE - 6                                                                Federal Programs Branch
28                                                                              1100 L Street N.W.
                                                                              Washington, D.C. 20005
                                                                                  (202) 305-8613
